                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  A.S.R., individually and on behalf of all others
  similarly situated,

  Petitioner–Plaintiff,
                                                           Case No. 3:25-cv-00113-SLH
  v.

  DONALD J. TRUMP, in his official capacity as
  President of the United States, et al.,

  Respondents–Defendants.

                            DECLARATION OF VANESSA STINE

       Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the following is true

and correct to the best of my knowledge and belief:

   1. My name is Vanessa Stine. I am a Senior Staff Attorney with the American Civil

       Liberties Union of Pennsylvania and am counsel for Petitioner-Plaintiff A.S.R. I make

       this declaration in support of Petitioner-Plaintiff A.S.R.’s Supplemental Brief on the

       Court’s Jurisdiction.

   2. Attached hereto are true and correct copies of the following materials,

       identified as lettered exhibits in the petition:

        Ex. A         ECF Notice, Petition for Writ of Habeas Corpus
                      April 15, 2025, 10:38:00 AM

        Ex. B         ICE Detainee Locator, A.S.R. Location Screenshot
                      April 15, 2025, 10:38:47 AM

        Ex. C         ICE Detainee Locator, A.S.R. Location Screenshot
                      April 15, 2025, 11:07:09 AM

        Ex. D         ICE Detainee Locator, A.S.R. Location Screenshot
                      April 15, 2025, 11:19:00 AM

        Ex. E         A.S.R. Declaration

                                                   1
         Ex. F       Gian-Grasso Second Declaration

         Ex. G       Email from Deportation Officer Joshua Belcher
                     April 15, 2025, 11:55:17 AM

         Ex. H       ECF Notice, Order granting Temporary Restraining Order
                     April 15, 2025, 03:12:00 PM

         Ex. I       Transcript of Conference before Hon. Stephanie Haines
                     April 17, 2025

         Ex. J       Flight Record




Dated:    April 24, 2025                          /s/ Vanessa Stine




                                              2
